Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 1 of 56




  EXHIBIT 13
     (Non-Electronic)
Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 2 of 56




EXHIBIT 14
               Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 3 of 56




                                   CERTIFICATE OF ACCURACY



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        Dated: February 5, 2020


                                                   Shane Mirkovich, General Manager
                                                   For Net Transcripts, Inc.




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            Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 4 of 56
                                                                                          RADIO TRAFFIC
                                                                                 Case # 2-20-cv-00078-DLR
                                                                                                    Page 2




 1
 2
 3
 4
 5
 6
 7                                        RADIO TRAFFIC
 8                                           Q=Man
 9
10
11   Man:            (Unintelligible) put on the brake.
12
13   Q:              Okay, vehicle’s on the move. Eastbound in the lot. Pullin’ out to VanBuren.
14                   Eastbound VanBuren, curb lane. Comin’ up to Dysart. (Unintelligible) to go
15                   southbound on Dysart from VanBuren. And they’re southbound Dysart,
16                   stayin’ on the curb. First entrance south of VanBuren, pullin’ into the complex
17                   and makin’ that loop around back to the north. Westbound along the southside
18                   of I believe it was - this was a KFC. Pullin’ up by the dumpster and slow
19                   rollin’ here, uh, westbound to the south of the Whataburger. And slow
20                   northbound - northbound along the west side of the Whataburger goin’ back to
21                   the parking spot again. (All right), they’re backin’ in, but not to the exact same
22                   spot so that light pole will - uh, they’re kinda stopped here. They’re tryin’ to
23                   take the same spot again, but they are about two spots west of where they
24                   were parked before and so that light pole is not in play behind them now. It’s
25                   just the, uh, tall bushes behind the vehicle. They backed right up to the bushes.
26                   Forward just a bit like they didn’t wanna be up close to the bushes or maybe
27                   it’s blockin’ their view, I don’t...
28
29   Man:            (Unintelligible) goes down in here (unintelligible) contact.
30
31   Man:            (Unintelligible).
32
33   Man:            If it goes down a little further (unintelligible) parked at right now, we’re
34                   definitely gonna need the rear blocked to make contact.
35
36   Man:            (Unintelligible) copy. Still got two of us, we’ll, uh, pinch ‘em in from the rear,
37                   make contact.
38
39   Man:            They are parked, it looks like there’s either a tree stump or a rock directly
40                   behind them.
41
42   Man:            Copy that, thank you.
43
44   Man:            60-38, were you able to get a good look at ‘em again?
45



                                                                                         PHX001637
            Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 5 of 56
                                                                                          RADIO TRAFFIC
                                                                                 Case # 2-20-cv-00078-DLR
                                                                                                    Page 3




46   Man:            No, I don’t have - I don’t have, uh, light silhouette anymore.
47
48   Man:            (9-2), real quick where we have a - a down night here and they’re sittin’ there.
49                   (Unintelligible) sound off on your positions.
50
51   Man:            (Unintelligible).
52
53   Man:            22 driver.
54
55   Man:            27 passenger.
56
57   Man:            (Unintelligible) so these are cinched up.
58
59   Man:            48, I’m, uh, one side of the (unintelligible).
60
61   Man:            (Unintelligible) guys, they’re gettin’ out.
62
63   Man:            (Unintelligible) pulled up to the Pizza Hut (unintelligible).
64
65   Man:            4-5, looks like only front right door is open. Back in and closed.
66
67   Man:            Yeah, and the Pizza Hut people are comin’ out, so hopefully, they’ll (wait)
68                   right there.
69
70   Man:            38, you say they’re all (dressed) out now?
71
72   Man:            Yeah, definitely.
73
74   Man:            (Unintelligible) looks like I have a backdrop (issue) west gonna be cleared up
75                   here. There’s an empty car lot, uh, electrical box. Can try to focus on
76                   (unintelligible) to the west. (Unintelligible) see to the west. (Unintelligible).
77                   Okay (unintelligible).
78
79   Man:            Pizza Hut cars are pretty much leaving.
80
81   Q:              Car doors are openin’ back up again. Front right door is open. Looks like, uh,
82                   driver - or left rear door is open. (Unintelligible) back closed again. All right,
83                   we got a vehicle just pulled into the drive-thru and doors all look closed again.
84                   Got a door openin’ up again, right front door.
85
86   Man:            (Unintelligible) messin’ with his front waistband, he’s front passenger.
87
88   Q:              (Unintelligible) pullin’ around to pick up the food. More doors are openin’ on
89                   the (SD) vehicle. Left rear looked like he, uh, relieved himself at the back of
90                   the car. Now the doors are back closed again.



                                                                                          PHX001638
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 6 of 56
                                                                                             RADIO TRAFFIC
                                                                                    Case # 2-20-cv-00078-DLR
                                                                                                       Page 4




 91
 92   Man:            And there’s little to no traffic on the VanBuren. It looks like all of
 93                   (unintelligible) surrounding (unintelligible).
 94
 95   Q:              Got one customer in the drive-thru is, uh, at the window to pick up his food.
 96
 97   Man:            I think we have a (unintelligible) containment and VanBuren shut down.
 98
 99   Man:            Um, are you gonna call that initiate or is someone else callin’ it if that vehicle
100                   starts rollin’? Are we just gonna call it off or are we gonna still try to get him
101                   (unintelligible)?
102
103   Man:            (Unintelligible) I’m gonna time it. So, I’m gonna start (unintelligible) when
104                   they go in. And I’ll let you guys know if you wanna get staged, (developed)
105                   five seconds out. I’ll let you know when they’re comin’ back and I’ll call it.
106
107   Man:            (Unintelligible) 25, I’m callin’ it. If it’s slow-rollin’, just creep (on him).
108                   We’re gonna have to play it by ear. Um, the guys that have eyes on him have
109                   to call out if we think we can get it or not. If he speeds outta there, we’ll let it
110                   go. I don’t wanna burn (it off) and have a 510 on us, so - so either we have it
111                   or we don’t.
112
113   Man:            10-4. The only other option I see (unintelligible).
114
115   Man:            There’s a (unintelligible).
116
117   Man:            (Unintelligible) change of position of the vehicle, so we can’t get that
118                   (unintelligible) (blocked) immediately. Just have to call it off and try to get
119                   back (unintelligible).
120
121   Man:            (He)’s still at the window.
122
123   Man:            (Unintelligible) eastbound to take that northbound exit, can somebody call out
124                   to wrap around the Whataburger and take the, uh, front (block).
125
126   Q:              And we just got another customer in the drive-thru.
127
128   Man:            (Unintelligible) technicality here. In 20 minutes we hit a, uh, 16-hour max
129                   crew duty day for any unit that (unintelligible) DSPC provider (unintelligible)
130                   override that (unintelligible).
131
132   Man:            Copy, thank you, sir.
133




                                                                                            PHX001639
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 7 of 56
                                                                                            RADIO TRAFFIC
                                                                                   Case # 2-20-cv-00078-DLR
                                                                                                      Page 5




134   Man:            (Unintelligible) maybe start slower when this, uh, goes down you might be
135                   able to get (unintelligible) but I don’t think anybody who’s north of it’s gonna
136                   be able to get in that parkin’ lot and move around.
137
138   Man:            Car just kept goin’.
139
140   Q:              Have parkin’ lot, drive-thru all clear now.
141
142   Man:            (Unintelligible) pedestrian hangin’ out in front of the Payless Shoe Store.
143                   (Unintelligible).
144
145   Man:            Dumpster divin’. Need to walk, uh, east.
146
147   Man:            All right. (Unintelligible) right there (unintelligible).
148
149   Q:              Left rear door open.
150
151   Man:            Dumpster diver may be tryin’ to make contact.
152
153   Man:            I think they’re gonna give him some money.
154
155   Man:            (Unintelligible) who do we have with eyes inside the Whataburger?
156
157   Man:            35. I’m looking from the south into the windows, should be able to see ‘em
158                   come in.
159
160   Man:            Be able to see the 211 first.
161
162   Man:            There’s a couple of blind spots, I’m not positive, it depends where they’re
163                   standing.
164
165   Man:            (Unintelligible) copy.
166
167   Man:            If they go inside, as soon as they’re inside, there’s nothin’ (unintelligible).
168                   Have to keep radio traffic to a minimal if they do (unintelligible).
169
170   Man:            All right, that dumpster diver dude went up to their passenger door, talked to
171                   ‘em for a second, walked away, now he’s walkin’ back over to ‘em. All right,
172                   hang on, he’s walkin’ away again. He’s walkin’ to the Whataburger and there’s
173                   also a car out front of the Whataburger now, too.
174
175   Man:            Somebody got outta that car and checked the door, and it appeared to be
176                   locked. They are going inside, so it is open. Lobby is open.
177




                                                                                           PHX001640
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 8 of 56
                                                                                             RADIO TRAFFIC
                                                                                    Case # 2-20-cv-00078-DLR
                                                                                                       Page 6




178   Man:            (Unintelligible) we need to reposition some people to the north. We need to be
179                   able to see the register and verify that 211 goes down before we can (jump)
180                   this car.
181
182   Man:            Yeah, 635 can you work on that? Get a better spot?
183
184   Man:            36, I’m directly to the east, I can see the registers.
185
186   Man:            Okay. (Unintelligible) we got that.
187
188   Man:            Thank you, copy. I just didn’t wanna be waitin’ on a, uh, call to come in to
189                   deal with this thing.
190
191   Man:            All right, (unintelligible) once it does go down, my guys go, uh, inside
192                   immediately. I know it’d be fluid, but we’ll go inside and confirm everything.
193
194   Man:            I copy that. I just want the, uh, validation so we can put the (unintelligible) in
195                   place and take ‘em in the parking lot if we have the opportunity. Otherwise,
196                   we’re gonna have to let them roll until we get that verification.
197
198   Man:            We should be able to see, from our vantage point, it go down from the outside.
199
200   Man:            10-35, since I - I can’t see the registers, but, uh, as they come in, I’ll be able to
201                   tell real quick what they’re doin’, and, if, uh, 36 has the registers, I think we
202                   have everything covered.
203
204   Man:            I’m also to the north. That (unintelligible) guy just - oh, he’s goin’ in now.
205
206   Q:              We’ve got one customer here at the pick-up window right now.
207                   (Unintelligible) transient and the two from that car on the north side, so we
208                   should have three customers inside and then the one at the pick-up window.
209
210   Man:            (Unintelligible) look around here. 10-4.
211
212   Dispatch:       10-4. Video notified them for us.
213
214   Q:              (‘Kay), we got doors openin’ again. Front passenger door just cracked open a
215                   little bit. Nobody out yet. We got another customer hittin’ the drive-thru.
216                   Another customer at the drive-thru, so we have one at the window, two at the
217                   order.
218
219   Man:            (Unintelligible).
220
221   Man:            295-(8) (unintelligible).
222



                                                                                            PHX001641
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 9 of 56
                                                                                           RADIO TRAFFIC
                                                                                  Case # 2-20-cv-00078-DLR
                                                                                                     Page 7




223   Man:            (Unintelligible) coordinate resources in case we need, uh, (unintelligible) out
224                   here.
225
226   Man:            Absolutely.
227
228   Man:            (Unintelligible) probably be one at VanBuren and Dysart but obviously
229                   nobody (unintelligible).
230
231   Q:              Left rear door is cracked open. Last customer has left. We’re down to two at
232                   the pick-up window and the, uh, one inside. (Unintelligible) the two that were
233                   inside just came out and it looks like they’re leavin’. Inside customers have
234                   left and we have one car at the window and one car ordering. One car at the
235                   window and one waitin’ to pick up. Looks like they (give), uh, two minutes
236                   until the doors get locked tonight.
237
238   Man:            (Unintelligible) still inside.
239
240   Q:              All right, one customer’s leavin’ the pick-up window. Second one is up to it
241                   right now.
242
243   Man:            (Unintelligible)’s gonna come out the door.
244
245   Q:              (Unintelligible) straight north to the bus stop and look like he’s, uh, gonna sit
246                   down under the bus stop cover. I believe that’s the last guy that just - on the
247                   north side of the road. I believe, uh, they’re customer-free at this point.
248
249   Man:            And the - looks like maybe employees are goin’ out to the exit.
250
251   Q:              SUV just pulled in straight north from the drive-thru into a parkin’ spot and a
252                   few people gettin’ out. Three people walkin’ towards the door, and another
253                   customer hittin’ the drive-thru.
254
255   Man:            Locked the door.
256
257   Q:              Yeah, they, uh, went back to the vehicle and they’re all gettin’ in.
258
259   Man:            Lockin’ the east door, too.
260
261   Q:              Standin’ by the door. Left rear door cracked open again. All right, left rear,
262                   front right doors are open. All but the driver’s door are open. We got, uh, one,
263                   two, three out walking towards the Whataburger. Two are walking towards the
264                   Whataburger. Right rear passenger still at the vehicle. He’s out now, walkin’ -
265                   he’s kinda hangin’ by the vehicle. He’s kinda lookin’ like more like a look-out.
266                   We got two walkin’ towards the drive-thru of the Whataburger. That’s the




                                                                                             PHX001642
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 10 of 56
                                                                                              RADIO TRAFFIC
                                                                                     Case # 2-20-cv-00078-DLR
                                                                                                        Page 8




267                   back door. The look-out’s still over by the vehicle, but on the west side of that
268                   building there, the went to the back door, kinda outta my sight right now.
269
270   Man:            And they’re just peering into the window right now.
271
272   Man:            I got ‘em (unintelligible) yeah, they’re - they’re really sneakin’.
273
274   Q:              The one is joinin’ ‘em. He’s on the northwest corner of the building.
275
276   Man:            (Unintelligible) force it. If we have it, take it. If not, we’ll re-setup,
277                   (unintelligible).
278
279   Q:              All right, uh, two are on the southwest corner. Okay, they’re all joinin’ up
280                   together at the back door - the west door of the building. The three are walkin’
281                   around to the north side of the building. I’m on the southside (unintelligible) I
282                   do not have video on the north side.
283
284   Man:            I got ‘em. They’re, uh, creepin’ up to the door. Door’s locked, they’re all
285                   gonna start walkin’ back. Nope, they’re curlin’ back around to the other side.
286
287   Q:              (Unintelligible) southside. We got one car at the drive-thru pick-up window
288                   right now.
289
290   Man:            Oh, here they come.
291
292   Q:              They might be tryin’ a window up by the drive-thru.
293
294   Man:            Now he’s tryin’ to tell that truck to get movin’. Handgun in his left hand. The
295                   window now. They just - yeah - yeah, yeah, (unintelligible) (two of ‘em) right
296                   now. Climbed in.
297
298   Q:              202, (we’re) runnin’ up to the window with ‘em. We got all three at the
299                   window.
300
301   Man:            25, we’re gonna start (jukin’) up to the front of that Food City. If you guys
302                   wanna get in place on VanBuren...
303
304   Man:            Guy’s still out on foot on the east side of the building.
305
306   Q:              Two are inside to the drive-thru, one went around to the north side of the
307                   building.
308
309   Man:            He’s got a gun to the guy’s head. He just brought him into the back room.
310
311   Q:              Just opened the, uh, north side door, the third one’s in.



                                                                                              PHX001643
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 11 of 56
                                                                                             RADIO TRAFFIC
                                                                                    Case # 2-20-cv-00078-DLR
                                                                                                       Page 9




312
313   Man:            (Unintelligible) helicopter movin’ in.
314
315   Man:            Yeah, they can come in closer, (unintelligible). (Unintelligible).
316
317   Man:            The employees are still safe, but they got their (hands)...
318
319   Man:            (Unintelligible) clear on.
320
321   Q:              Got a customer comin’ into the drive-thru.
322
323   Man:            Goin’ through the till right now.
324
325   Man:            (Unintelligible) in positions. We don’t have it, let it go, pick up
326                   (unintelligible).
327
328   Man:            They - they had the op- they’re opening the drive-thru window. It’s like they
329                   might wanna go through it. Comin’ out through the front now. One guy is.
330
331   Q:              (Unintelligible) two of ‘em are comin’ out the main entrance on the north side.
332                   Vehicle’s on the move. Vehicle’s on the move.
333
334   Man:            (25). Vehicle’s moving, we’re not gonna be able to get him. We’re gonna have
335                   to let this go and get (unintelligible).
336
337   Q:              Two are in. Third one’s runnin’ to ‘em.
338
339   Man:            (Unintelligible) copy. Everybody hold your positions. Let the air unit call it.
340
341   Q:              918, vehicle’s away, eastbound VanBuren. Looks they want a position to go -
342                   oh, they’re gonna drive around some traffic here. Probably (unintelligible)
343                   goin’ northbound. Northbound Dysart from VanBuren.
344
345   Man:            (Unintelligible) we got the store.
346
347   Man:            Okay. 32, can you hold them at the store and, um, can you get a couple
348                   (Goodyear) units there as well?
349
350   Q:              They’re northbound Dysart, curb line movin’ over to go eastbound on the I-
351                   10.
352
353   Man:            (Unintelligible) with the turn signal, right? 21, I’m with it.
354
355   Man:            Just made the turn, eastbound. He’s on the ramp to go eastbound on the I-10
356                   from Dysart.



                                                                                            PHX001644
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 12 of 56
                                                                                            RADIO TRAFFIC
                                                                                   Case # 2-20-cv-00078-DLR
                                                                                                     Page 10




357
358   Man:            (Unintelligible) let’s give ‘em a little bit of breathing room and try to get a
359                   (grappler) up there.
360
361   Q:              918 eastbound on the 10 and, uh, speed doesn’t look too excessive. He’s
362                   (unintelligible) but nothin’ extravagant.
363
364   Man:            635, (unintelligible) Code 4 inside there with all the employees.
365
366   Man:            (12-21) is that you in front of me?
367
368   Man:            Yeah, right next to the (unintelligible). About a quarter-mile ahead of me.
369
370   Q:              (Unintelligible) units on the 10, did you see the semi? He just passed a semi.
371                   Uh, he’s over in the number one lane and he’s just comin’ up on the exit for
372                   Avondale. He’s not gonna take it, but he’s, uh, just approaching Avondale
373                   Boulevard, number one lane, still eastbound.
374
375   Man:            I have a couple of vehicles back behind us. (Unintelligible) traffic stop behind
376                   us.
377
378   Man:            918. Do we have units, uh, nearby to (unintelligible) (just check).
379
380   Man:            918, we got, uh, couple of us behind you. Could you (orientate us) which -
381                   which vehicle it is?
382
383   Q:              About 112th Avenue, they threw something out the right rear window. It
384                   coulda been just a cigarette (unintelligible), but, uh, they threw something out
385                   that window. Uh, they’re just crossing 107th Avenue right now. If you s- if
386                   you’re just behind, if you see two semi’s that will beam each other, he’s just
387                   passing those two semi’s right now.
388
389   Man:            All right. So, did he just get in front of one of those semi’s?
390
391   Q:              10-4, moved over in front of one of ‘em. Uh, it looks like he might be
392                   positioning to go, uh, northbound here. He’s all the way over to the far right,
393                   so this should put him on the ramp to go northbound on the 101. All right, he
394                   is on the ramp here. We are, uh, he’s makin’ a turn northbound on the 101
395                   from the 10 now.
396
397   Man:            Do you have their speed (unintelligible).
398
399   Q:              A little above normal, nothin’, uh, nothin’ too crazy. He’s just barely above
400                   the, uh, speed of the traffic. They’re merging (unintelligible) 101 northbound




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             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 13 of 56
                                                                                            RADIO TRAFFIC
                                                                                   Case # 2-20-cv-00078-DLR
                                                                                                     Page 11




401                   right now. (Unintelligible) ahead of them. I’m showin’ ‘em right now at, uh,
402                   72 miles an hour.
403
404   Man:            I don’t know how that freeway traffic looks, but if it’s, uh, 70 or below, we
405                   can use that on the freeway as long as we can (unintelligible) traffic
406                   (unintelligible).
407
408   Q:              Very little traffic on the freeway (unintelligible) (101) right now.
409
410   Man:            Are the units behind him for positioning or...
411
412   Q:              Still northbound 101, coming up on Thomas. If you see a semi-truck that is,
413                   uh, it’s just a cab, not pullin’ anything, he’s, uh, (unintelligible) right about
414                   now.
415
416   Man:            Uh, do we have any grapplers (unintelligible)?
417
418   Man:            Uh, I’m just about up there.
419
420   Man:            12, I’m right behind, uh, 21. We could run a pretty good block (unintelligible).
421
422   Q:              Number one lane, just about to cross Indian School. I’m showing him at 74
423                   miles an hour.
424
425   Man:            If we have any (unintelligible) leave, uh, one lane open to block everybody
426                   else (unintelligible) traffic back.
427
428   Man:            (Unintelligible) one exit (unintelligible).
429
430   Man:            Give us a natural traffic (unintelligible) for vehicles (unintelligible) go around,
431                   please.
432
433   Man:            Hey, (Burch), which car is it, man?
434
435   Man:            In one lane, number one lane. The first in from HOV and it’s, uh, the first one
436                   in front of the black Cadillac. Let me know when you’re ready, and I’ll get up
437                   there and actually run (unintelligible) my lane now, but I’ll block for you
438                   when you’re ready to make that move.
439
440   Q:              (Unintelligible) guys, movin’ all the way over to get off at Camelback.
441
442   Man:            (Unintelligible) we have enough for a jump at this light. We can (creep) up in
443                   front.
444




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             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 14 of 56
                                                                                           RADIO TRAFFIC
                                                                                  Case # 2-20-cv-00078-DLR
                                                                                                    Page 12




445   Q:              All right, it’s kind of (unintelligible) access here so they’re, uh, gonna be
446                   westbound - I’m sorry, eastbound - eastbound on Camelback from the 101.
447
448   Man:            (Unintelligible) lookin’ for that street jump. Let’s wait for him to get a
449                   grappler up here as well.
450
451   Q:              Uh, it looks like they’re catchin’ a red at, uh, 95th. They’re the number one
452                   vehicle, number one lane, uh, 95th Avenue.
453
454   Man:            All right, (Brooks), I’m gonna go ahead and deploy this thing. Um, we’ll get
455                   the speed goin’, I’ll get up there.
456
457   Man:            Copy, let me know when you’re ready to move over. Exhaust is on the
458                   passenger side tire and he’s got mud flaps.
459
460   Man:            (Unintelligible) spare rear tire in there, too. I don’t know if that makes a
461                   difference for this thing, but they’re eastbound, uh, Camelback comin’ up
462                   towards 91st.
463
464   Man:            All right, (Burch), I’m good to go. Um, (unintelligible) (for a sec).
465
466   Man:            (Unintelligible).
467
468   Q:              Deployed, and, uh, we got the vehicle stopped. We got bail out right rear
469                   passenger running. He threw something, probably a gun.
470
471   Man:            (Unintelligible).
472
473   Man:            All right, nobody’s movin’. Nobody’s movin’. One subject down. (‘Kay), the
474                   runner’s down then.
475
476   Q:              Runner is down on the southside of the road, about 50 feet from the - 30 feet
477                   from the vehicle. He threw something, it looked like it could be a gun. It’s
478                   about 10 feet away from him. It’s within his reach.
479
480   Man:            Guys, I’m comin’ from the east. I’m gonna stop traffic for you.
481
482   Man:            (Unintelligible).
483
484   Man:            (Unintelligible) we’re over here (on the passenger) side. Give me a dog on
485                   (unintelligible) side.
486
487   Man:            (Unintelligible) I need (eastbound) shut down and I need somebody to go to
488                   the Circle K and get everybody out of our line of fire at Circle K. We have a
489                   bunch of people at the pumps.



                                                                                          PHX001647
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 15 of 56
                                                                                              RADIO TRAFFIC
                                                                                     Case # 2-20-cv-00078-DLR
                                                                                                       Page 13




490
491   Man:            Okay, it’s good.
492
493   Q:              (Unintelligible) units out there heard - can hear me (unintelligible) goin’ on
494                   but the subject that’s down on the southside of the road, there’s an object that
495                   is about six feet away from his right hand, uh, if he crawls a little bit, it’s
496                   within his reach and I believe it may be a handgun.
497
498   Man:            (Unintelligible) gonna take him (unintelligible). We’re gonna call out from the
499                   northside.
500
501   Man:            Sam 52, up (unintelligible) west of our location, we do have a 998. We are
502                   still working through getting everybody apprehended. I need that Circle K
503                   (unintelligible) shut down. We need (unintelligible) and get everybody pushed
504                   outta there.
505
506   Man:            (Unintelligible) shut down at the brick structure, and there’s a semi parked in
507                   front of it. I have a civilian keepin’ to one side.
508
509   Man:            All right, perfect.
510
511   Man:            (Unintelligible) dispatch, you copy? We do have a 998 out here. We are code
512                   4, we (unintelligible). Code 4, yes, but we don’t need (unintelligible). We have
513                   enough to take care of it.
514
515   Dispatch:       Copy. 998 code 4 do not need the (all call) at 0-22.
516
517   Man:            (Unintelligible) patrol (unintelligible) I’ll be 23 as well.
518
519   Dispatch:       (4).
520
521   Man:            (Unintelligible) once everybody’s out of that vehicle, we’re gonna deal with
522                   the subject who is down. We’re gonna give him instructions to walk back to,
523                   uh, sorta crawl back to us. If he cannot, we’ll move up with a team and...
524
525   ((Crosstalk))
526
527   Man:            (Unintelligible) we still have one suspect inside the vehicle, calling him out
528                   now. We have one (unintelligible) southside of the road. Apparently we have
529                   no injuries to officers.
530
531   Man:            (Unintelligible).
532
533   Man:            (Unintelligible).
534



                                                                                             PHX001648
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 16 of 56
                                                                                          RADIO TRAFFIC
                                                                                 Case # 2-20-cv-00078-DLR
                                                                                                   Page 14




535   Man:            Everybody in custody including the, uh, suspect that’s down?
536
537   Man:            Negative. Everybody is not in custody. We have everybody out of the vehicle.
538                   We’re gonna start workin’ on gettin’ the suspect who is down and (proned) out
539                   in custody and then I need a (unintelligible) supervisor on scene who doesn’t
540                   have a job to go out with, uh, (unintelligible) 21. Stand by (unintelligible).
541
542   Man:            Where’s 5-21 at?
543
544   Man:            He’s gonna be in the green equipment van.
545
546   Man:            (Unintelligible) car before we go anywhere near that guy on the ground, and
547                   we’re gonna clear from the driver’s side.
548
549   Man:            (Unintelligible) we’re puttin’ together two teams right now. One to clear the
550                   vehicle. One to push up behind the panel and give commands to the suspect
551                   who is down. If he does not crawl back to us, we will deploy the K-9 and pull
552                   him back to us, away from that gun. The team that’s gonna clear the vehicle
553                   will move just - just to the north of us and parallel so - so we don’t have any
554                   cross-fires.
555
556   Man:            (Unintelligible).
557
558   Man:            (Unintelligible) know to not drive westbound on Camelback, they just went
559                   (unintelligible).
560
561   Man:            (Unintelligible) suspect who is down, we have a (unintelligible) angle to move
562                   in on the suspect vehicle from the north utilizing (unintelligible) cover, we’re
563                   gonna clear that and then we’ll deal with the suspect who is down.
564
565   Man:            (13), we’re gonna (unintelligible) right now. Stand by (unintelligible).
566
567   Man:            (Unintelligible) hold here, we got (good) coverage on the suspect that’s down.
568                   You guys can work that side.
569
570   Man:            Are you gonna (work) dog first?
571
572   Man:            (Unintelligible) copy. We’re gonna move up and give him commands to crawl
573                   back towards us, away from that weapon. If he does not comply, we are gonna
574                   send in the dog in, drag him back to us.
575
576   Man:            Okay, copy. You got good coverage, we’ll hold here.
577
578   Man:            (Unintelligible) units (unintelligible).
579



                                                                                         PHX001649
             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 17 of 56
                                                                                           RADIO TRAFFIC
                                                                                  Case # 2-20-cv-00078-DLR
                                                                                                    Page 15




580   Man:            (Unintelligible) 23.
581
582   Man:            (Unintelligible) push off with it. We’re tryin’ to give him commands to crawl
583                   to us.
584
585   Man:            (Unintelligible) givin’ him commands.
586
587   Man:            (Stop) right there.
588
589   Man:            (Unintelligible).
590
591   Man:            (Unintelligible) tryin’ to get the dog oriented to get up there and drag him
592                   back to us.
593
594   Man:            (Unintelligible) did you guys, uh, send that dog out on him?
595
596   Man:            (Unintelligible) we’re tryin’ to get the dog oriented. We’re gonna start closin’
597                   the distance and get that dog oriented to the suspect.
598
599   Man:            (Unintelligible) threw the dogs on him. We’re draggin’ him back to us away
600                   from the gun (unintelligible). (Unintelligible) suspect. Stand by, I’ll let you
601                   know when it’s Code 4 for fire.
602
603   Q:              (918). Unit walkin’ out to where he was layin’ straight - straight out from you
604                   in - I don’t know if that’s an embankment there or whatever, but, uh, we still
605                   have the glow of what I believe is the gun. Stop there, right at your feet.
606
607   Man:            Copy. We got it.
608
609   Man:            (Unintelligible) we’re Code 4. Suspect is in custody. We can, uh, get fire on
610                   stage (unintelligible) back behind us, or if they can make their way up to us, I
611                   don’t know. (Unintelligible) the way here.
612
613   Man:            9-58 (unintelligible) Engine 54 en route, Code 2.
614
615   Man:            Patrol 94, Patrol 84, if you can have a (unintelligible) hard closure on
616                   Camelback Road, east of us - or east and west of us.
617
618   Man:            (Troy) (unintelligible) we’ll get it taken care of.
619
620   Man:            (Unintelligible) we’re rendering first aid to the suspect right now until Fire’s
621                   (23). He’s gonna have at least, uh, two gunshot wounds in the, uh, back.
622
623   Man:            (Unintelligible) copy, you’re Code 4 and, uh, Patrol 94, I’m headin’ out. I’ll
624                   see you there.



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             Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 18 of 56
                                                                                          RADIO TRAFFIC
                                                                                 Case # 2-20-cv-00078-DLR
                                                                                                   Page 16




625
626   Man:             Patrol 94 copy. And (Brad), if you can identify any witness officers as well as
627                    the shooters, please.
628
629   Man:             (Unintelligible).
630
631   Man:             (Unintelligible) we’re gonna have to head back. If, uh, (unintelligible) hang
632                    out at about 30 minutes and we’ll, uh, figure out what - who we wanna get
633                    back out to the (unintelligible).
634
635
636   The transcript has been reviewed with the audio recording submitted and it is an accurate
637   transcription.
638   Signed________________________________________________________________________




                                                                                         PHX001651
Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 19 of 56




EXHIBIT 15
Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 20 of 56




                            In the Matter of:
                                   Harris

                                     vs

                              City of Phoenix



                              David Norman

                           December 21, 2021
    Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 21 of 56
   Harris vs                                                           David Norman
   City of Phoenix                                                  December 21, 2021
                                                                                86
·1· · · · · ·I want to say there was mention of them putting

·2· their hoods up and kind of cinching them down a little

·3· bit.· I think there was mention of they could see a gun

·4· in at least one of their hands.

·5· · · · · ·And then I hear, "I think they're at the door."

·6· And then they're at the -- the drive-through window.

·7· · · · · ·And then I hear them discuss -- or hear them

·8· put out information that, I think they crawled through

·9· the drive-through window with the gun in hand.

10· · · · · ·And once inside, I think someone inside opened

11· up the doors to the Whataburger and let the other guy --

12· the rest of the crew in that way, and then went about

13· their armed robbery.

14· · · · · ·I know we had street crimes detectives close

15· enough to where they could see some of the things going

16· on inside the Whataburger, and I even think that they

17· were videotaping what was happening inside.

18· · · · · ·I think I over- -- I think I heard one of the

19· street crimes detectives say, you know, "He is pointing

20· the gun.· I think he has the manager.· I think he has a

21· gun to the manager's head," something like that, or

22· pushed him over the -- the countertop, something to

23· that -- something along those lines.

24· · · · · ·Whatever was being said, it was very clear that

25· an armed robbery was -- was currently taking place with


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    Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 22 of 56
   Harris vs                                                           David Norman
   City of Phoenix                                                  December 21, 2021
                                                                                87
·1· multiple suspects in the -- in the Whataburger,

·2· conducting an armed robbery, armed with pistols.· And

·3· there was multiple employees inside the Whataburger.

·4· · · · · ·I was also made aware that the suspect vehicle,

·5· the driver was still in the car and then drove up

·6· alongside the Whataburger as the suspects exited the

·7· Whataburger, then very quickly got into the -- their

·8· vehicle and drove away.

·9· · · · · ·I don't think guys were close enough or decided

10· not to contact the vehicle at that point.· I think that

11· they -- that's sort of a -- a tough place to -- to try

12· and, you know, stop a vehicle or contact suspects right

13· after they conduct an armed robbery, because, you know,

14· the adrenaline is high, it's a very short time period,

15· and we would have put together a very hasty plan if they

16· were to conduct it there, and things probably could have

17· gone pretty bad.

18· · · · · ·So the suspect vehicle exited, I think went

19· down Dysart, north on Dysart towards the I-10.· I saw

20· the suspect vehicle drive past me, and I pulled out on

21· Dysart and followed them.

22· · · · · ·I believe they got on I-10, went towards the

23· 101, and then north on the 101.· I mean, the speeds

24· being well above the speed limit, but not, like, overly

25· excessive, not like reckless driving, but they were just


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    Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 23 of 56
   Harris vs                                                           David Norman
   City of Phoenix                                                  December 21, 2021
                                                                                91
·1· at the time, dragging my Tahoe for a short bit.· And

·2· their vehicle came to a rest, having turned slightly to

·3· the left.

·4· · · · · ·At this point, Officer Bertz had pulled his

·5· truck off to my right and slightly ahead of me, and that

·6· vehicle came to a stop.

·7· · · · · ·Now I kind of have a lot going on inside of my

·8· vehicle because grappling a car is not exactly jarring,

·9· but I leave my seat belt on for that.· So now I need to

10· throw my car in park -- make sure that vehicle is

11· stopped, make sure my vehicle is stopped, throw it in

12· park, undo my seat belt, hop out.

13· · · · · ·At this point, I see the rear passenger side

14· door of this SUV come open.· I'm aware of -- a

15· flash-bang distraction device detonates, and I see a

16· male suspect enter -- or exit that vehicle with a gun in

17· hand.

18· · · · · ·As I'm exiting, I exit my vehicle now, and I

19· see that suspect as he begins to run, quartering away

20· from -- from us towards that open field.

21· · · · · ·So first off, that -- Officer Bertz is off to

22· my right and a bit ahead of me.· Now, granted, my tether

23· is 15 feet long.· I have a 15-foot-long tether on my

24· Grappler system.

25· · · · · ·Officer Bertz is slightly ahead of me and off


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    Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 24 of 56
   Harris vs                                                           David Norman
   City of Phoenix                                                  December 21, 2021
                                                                                92
·1· to my right.· Puts him pretty close to that open -- to

·2· that vehicle, especially when the door opens.

·3· · · · · ·And when that suspect pops out with a gun in

·4· hand, I recognize that -- that he definitely has an

·5· advantage over Officer Bertz at that time.

·6· · · · · ·Flash-bang goes off, and the suspect begins to

·7· run.· I see the suspect look back, kind of quartering,

·8· at Officer Bertz, and then maybe a step later looks back

·9· again.· Gun is still in hand.

10· · · · · ·I feel that he is now about to target

11· Officer Bertz, who he is still pretty close to, and I

12· begin to fire my pistol, which at the same time I

13· recognize that Officer Bertz is firing his weapon system

14· as well.

15· · · · · ·The suspect goes down flat on his stomach

16· and -- and holds still for -- for a few seconds.

17· · · · · ·At this point, other officers are coming up.

18· Another flash-bang was deployed.· And the other officers

19· coming up were now focused more on the other three

20· suspects that were in the SUV.· And I know their focus

21· is towards them.

22· · · · · ·And I break away, come around to the passenger

23· side of my vehicle.· I check with Officer Bertz, say,

24· "Hey, are you okay?"

25· · · · · ·Because I wasn't sure if that suspect fired


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    Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 25 of 56
   Harris vs                                                           David Norman
   City of Phoenix                                                  December 21, 2021
                                                                              119
·1· · · A.· ·Not at all.

·2· · · Q.· ·And when you saw and heard that flash-bang, did

·3· you know what it was?

·4· · · A.· ·Yes.

·5· · · Q.· ·Did you have any confusion about what the sound

·6· you heard was?

·7· · · A.· ·No.· It sounded like a flash-bang going off.

·8· · · · · ·I hate to -- you know, as weird as it is, I'm

·9· used to it, you know.· I've probably had too many of

10· them go off near me, yeah.

11· · · Q.· ·So earlier you testified about it being a very

12· risky proposition to try to stop fleeing felons right

13· after they have committed an armed robbery.· Do you

14· recall that testimony?

15· · · A.· ·Yes.

16· · · Q.· ·So in this situation, is it fair to say that

17· you wanted to give a bit of a cool-down period to

18· increase the risk of safety for everybody, including the

19· suspects?

20· · · A.· ·Yep, absolutely.· And that's sort of a --

21· that's sort of a built-in tactic when we -- when we do

22· our typical street jumps, which, again, I can mention as

23· a tactic comes out of surveillance.· If someone had just

24· committed a crime or just left a crime scene, that sort

25· of thing, or even if, say, a patrol had tried to conduct


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    Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 26 of 56
   Harris vs                                                           David Norman
   City of Phoenix                                                  December 21, 2021
                                                                              120
·1· a vehicle stop with the red-and-blue lights and that

·2· vehicle takes off, we don't try to do a jump right after

·3· that.

·4· · · · · ·We try to let them feel like they've got enough

·5· distance from where that thing took place, let their

·6· adrenaline come down a little bit, let them start

·7· feeling like they're blending in to traffic, and then

·8· through our surveillance we can get around them and take

·9· them off at a location of our choosing.

10· · · · · ·And that just really didn't seem to be possible

11· in this moment, this place, this traffic conditions, all

12· that.· The Grappler seemed to be the best -- it was the

13· best tactic to use to -- to conduct our contact.

14· · · Q.· ·So fair to say that in consideration of the

15· tactics that are involved in this situation, everything

16· that you're doing is trying to decrease the likelihood

17· of there being a shooting or any use of force?

18· · · A.· ·Yeah.· I mean, that's -- that's -- I mean,

19· that's the entire mission of the Special Assignments

20· Unit is to employ team tactics that reduce the

21· likelihood of us getting hurt or just reduce the

22· likelihood of there being a conflict, you know.

23· · · · · ·You know, we -- you know, we try to deescalate.

24· We try to bring as many different forms of levels of

25· force and capabilities to give suspects every


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    Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 27 of 56
   Harris vs                                                           David Norman
   City of Phoenix                                                  December 21, 2021
                                                                              121
·1· opportunity to -- to realize this is over and we take

·2· them into custody.

·3· · · · · ·The downside to that is, you know, and it's

·4· something we talk about in training, like, the bad guy

·5· always gets a vote.· No tactics are perfect.· None.· And

·6· no tactics are perfect, and the bad guy, the suspect,

·7· always gets a vote.· And all we can do is adjust our

·8· tactics and react to that.

·9· · · Q.· ·So I want to follow up on a line of questioning

10· about text messaging, get some precision there.

11· · · · · ·Do you have a specific -- specific recollection

12· of text messaging with your squad about this incident,

13· or are you simply saying that you sometimes have a text

14· chain with your squad?

15· · · · · ·MR. KNIGHT:· Objection.· Form.

16· · · · · ·THE WITNESS:· I -- so, you know, and I

17· apologize.· So our work phones serve -- our work phones,

18· you know, serve several different functions, right?

19· Just like as a telephone, as our Push-to-Talk that we

20· can push-talk and talk almost like -- like a radio to

21· individual officers or to a group.· And we have groups

22· set up.

23· · · · · ·We also have, obviously, just text messaging,

24· just like anyone's phone, right, where I can text

25· individual officers or text a group.


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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 28 of 56




EXHIBIT 16
Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 29 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 30 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 31 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 32 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 33 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 34 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 35 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 36 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 37 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 38 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 39 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 40 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 41 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 42 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 43 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 44 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 45 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 46 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 47 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 48 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 49 of 56




                                                                     3+;
Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 50 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 51 of 56




                                                                     3+;
Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 52 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 53 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 54 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 55 of 56




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Case 2:20-cv-00078-DLR Document 162-9 Filed 01/20/22 Page 56 of 56




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